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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


KEVIN GOULD,

          Plaintiff,

v.                                                              Case No. 1:19-cv-00382-WJ-JFR

DW PARTNERS, LP

          Defendants.



                          DECLARATION OF HOUDIN HONARVAR


          The declarant, Houdin Honarvar, makes the following statement under penalty of perjury:

          1.      I am the general counsel (“GC”) for DW Partners, LP (“DW”), and have held said

position since the 17th of April of 2017.

          2.      As GC of DW, I have knowledge of DW’s operations, as well as its corporate

structure, as well as of its financial picture. I am also familiar with the facts and circumstances

raised by Plaintiff in his pleadings before this Court.

          3.      DW has not at any point in time ever been a senior secured lender to Eclipse.

          4.      DWC Pine Investments, I, Ltd (“Pine Investments”) was at one point a senior

     secured lender to Eclipse, and was the entity that sold its interests in Eclipse in the transaction

     for which Plaintiff now seeks his “Transaction Bonus.”

          5.      Defendant DW is a management company of Pine Investments, and did not at any




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point own any interest in Eclipse, nor did it sell or receive proceeds from the sale of any of Pine

Investments’ interest in Eclipse. Instead, it was Pine Investments who sold its interests in Eclipse

and received any proceeds from that sale.

          FURTHER DECLARANT SAYETH NOT.

          Dated May 9, 2022.



                                              ______________________________________
                                              HOUDIN HONARVAR




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